Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 1 of 15

Exhibit L
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 2 of 15

DECLARATION UNDER PENALTY OF PERJURY
PURSUANT TO 28 U.S.C. § 1746

. My name is Dr. Keme Hawkins. I am over eighteen years of age and
competent to testify to the matters contained herein.

. [am a resident of DeKalb County in Georgia and my residence address is
5070 Peachtree Boulevard, Unit 1203, Chamblee, GA 30341.

. On September 24, 2019 which was Voter Registration Day, my roommate
and I checked our voter registrations on the Secretary of State’s website. I
discovered that the address listed on my voter registration had been changed
from my correct street name to an incorrect street name. My roommate’s
address was correct on her voter registration. My roommate and I check our
voter registration status regularly, and my address had been correct when I
checked it the previous month in August 2019.

. I completed a change of address on the Secretary of State’s My Voter Page
website. The website said it might take 2-4 weeks for the address change to
go into effect and that I needed to scan my driver’s license and submit it so
that they could match the signature. But the website did not have a method to
submit the driver’s license.

. | immediately called the Secretary of State’s Office and told the woman who
answered the phone what happened. She told me that it was probably fine,

but that I could call my county Board of Elections.
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 3 of 15

I then called the DeKalb Board of Elections and spoke to Wanda Drake. Ms.
Drake asked me to email her a request to change my address on the voter
registration records. I emailed Ms. Drake right away, and she responded that
she had updated my record and sent me an electronic copy of my voter
registration card. She told me that a copy of the voter registration card would
be sent to me by US Mail and would arrive in 2-4 weeks. A copy of our
email correspondence is attached to this affidavit as Exhibit A.

. I contacted Fair Fight Action to inform them that my address had been
changed to an incorrect address on the voter registration rolls but that I
discovered the error and was able to have it corrected. Fair Fight Action
asked me to sign a declaration describing this and also describing an
experience I had at the polls in a runoff election. My deposition was taken
on November 1, 2019 by a lawyer for the Secretary of State’s Office.

I voted on November 5, 2019 without incident. I never received the voter
registration card that Ms. Drake said would be mailed to me, but I was able to
use my driver’s license to check in to vote.

. I was traveling a lot in November and my mail got backed up. Right before

Thanksgiving, my roommate checked our mail and said, “you’ve got mail—I
think it’s your voter registration card.” I opened the letter that we thought

was my voter registration card after the Thanksgiving weekend. I was
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 4 of 15

shocked to see that the letter was not a voter registration card, but a notice
telling me that my voter registration status would become inactive unless |
completed and returned the included form within thirty days. I was shaken
when I opened that mailing. It was scary. I thought, “Oh my god, they’re
trying to make me inactive.” I thought I had resolved the issue of my voter
registration two months ago and now my status as an active voter was being
challenged. A copy of this mailing is attached as Exhibit B.

10.1 felt like I needed to reach out to Fair Fight Action to make sure that
someone knew what was happening to me and could help me. The letter
challenging my voter registration status arrived two weeks after I was
deposed by the Secretary of State, and I worried that it was sent to me
because of that deposition. The transcript of my deposition had a heading
with my name vs. Secretary of State Brad Raffensperger. It was terrifying to
see this same name and title on a notice telling me that I might be purged
from the voter rolls.

11.A staff member from Fair Fight Action checked my voter registration status
on the Secretary of State’s website, and it was not listed as inactive. The
staff member also checked for my name on the list of inactive voters released

by the Secretary of State’s Office, and my name was not included on this list.
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 5 of 15

12. On Wednesday December 4", I called Wanda Drake, the woman at the
DeKalb Board of Elections who changed my address in September and left a
voice mail explaining that I had received a purge letter. I then called the
general DeKalb Board of Elections phone number and spoke to Tenisha.
Tenisha said that this letter was sent because my street address had been
wrong but that it had been corrected. She said that I was not on the inactive
voter list. I asked what would happen if I didn’t not send back the reply
within thirty days. Tenisha said that nothing would have happened if I didn’t
send back the reply.

13. A little while later, Wanda Drake called me back. I asked her if she would
allow me to conference in someone from Fair Fight Action. Ms. Drake
seemed surprised by this question. She got jittery and stammered. She then
said, “I’ve got to call you back.” My roommate could hear this conversation
and made the observation that Ms. Drake got nervous and needed to check
with a supervisor.

14. Ms. Drake did not call me back. Instead, Twyla Hart called. Ms. Hart told
me that there was an error with DDS. I had to ask what that meant, and she
clarified that there was an error in my street address. Ms. Hart said that when
my voter registration address was corrected in September 2019 my mailing

address was not corrected on the voter registration rolls. So, when the voter
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 6 of 15

registration card was mailed to me, it was sent to an incorrect address and
was returned as undeliverable. This is what triggered the purge notice I
received after Thanksgiving. Ms. Hart also said something about me being
on inactive status in 2013 but that my voter registration is current now. I
didn’t understand this at all because I remember voting for President Obama
in 2012. It was getting hard to process everything Ms. Hart said because she
was giving me so much information. Ms. Hart said she would email me a
summary of everything she told me.

15.] asked Ms. Hart if | needed to send back the response card that was included
in the mailing saying I was inactive. She said that I did not need to send it
back but that I could if ] wanted to make sure to dot my “i”s and cross my
“t’s. [also asked if the mailing I received was the same as the purge letters
the Secretary of State’s Office announced that they were sending out. Ms.
Hart told me that the return address and something else were different on the
letter that | received. She indicated that my letter was the standard letter that
is triggered when mail from the Board of Elections is returned as non-
deliverable. A copy of the email Ms. Hart sent to me explaining what
happened is attached as Exhibit C.

16. I am still very concerned by the mailing. It was from the Secretary of State

threatening to take away my right to vote just two weeks after I was deposed
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 7 of 15

for reporting problems I experienced voting. I know everyone at the DeKalb
Board of Elections told me the letter was sent because of a clerical error, but I
honestly don’t believe this is a coincidence. Isn’t the goal to make things
look innocuous? I am concerned that there is some trickery or subterfuge
behind this clerical error. It seems quite suspicious.

17. I would feel better if there were some kind of acknowledgement by the
Board of Elections or the Secretary of State that what is happening to me is
crazy. I would like some sort of assurance that they are taking my right to
vote seriously and are working to protect it. Instead, I feel like I am
constantly having problems with my voter registration and have to be vigilant
in protecting it. And while everyone who administers my right to vote is
polite, everyone seems very casual in their handling of my sacred right. In
my first declaration, [ talked about how I called the Secretary of State’s
Office and they told me my voter registration was probably OK but that I
could call my county board of elections if 1 was concerned. Then Tenisha
at the DeKalb Board of Elections told me that it would be fine if I didn’t
return the card that was sent to me telling me that the Secretary of State
would purge me if I didn’t return it. And Ms. Hart told me I didn’t really
need to send back the card but that I could in an abundance of caution. I

don’t feel empowered or encouraged to ask for clarity. Don’t the people who
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 8 of 15

administer our right to vote want to appear trustworthy? I feel like I am
being asked to blindly trust all of these different people to protect my right to
vote. I have a master’s degree in African American studies. I know what
people went through for the right to vote and how many cunning and
conniving things were done to keep people from voting. And now I’m being
told it was just a clerical error, and I should trust that my right to vote is
secure.

18.1 feel scared about the idea that I am going to need to do another deposition.

I am worried that my name will be out there for the Secretary of State to
target. I understand the necessity of fighting for the right to vote and I will
do it, but I wonder about drawing attention to myself. I feel like I’m creating
more opportunities to be looked at like a threat and a target. The history of
suppression of African American voters and the lengths people will go to in
order to suppress the vote validates my anxieties.

19. The people at the Board of Elections were so nonchalant about my voter
registration status. But I definitely don’t feel nonchalant. Maybe the Board
of Elections is nervous about the level of scrutiny my inquiries triggered. But
I also feel nervous that I am now under scrutiny. It’s like I’m poking the
bear, but I don’t have a choice. Knowing the legacy of voting, I can’t take

this lightly. I see voting as a sacred right. At the Human Rights Museum,
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 9 of 15

after all of the exhibits showing atrocities, the museum ends by saying that
what people can do to make change is to vote. I feel like I am constantly
battling for that right.

20.1 give this Declaration freely, without coercion, and without any expectation
of compensation or other reward.

21. I understand that in giving this Declaration, that I am not represented by a
lawyer. Nor has any lawyer asked me to be their client or to serve in anyway
as anything other than a witness in this litigation.

22. I declare under penalty of perjury that the foregoing is true and correct.

Further affiant sayeth not, this the A day of ve (£ Wer , 2019.

/
Ga. Kens LL

Signatu
Dr. Keme Hawkins

Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 10 of 15

Exhibit A
Email Correspondence with Dekalb Board of Elections
September 24, 2019

From: Keme Hawkins <hawkins.keme@qmail.com>

Date: Tue, Sep 24, 2019 at 9:16 PM

Subject: Re: Change of Address on Voter Registration
To: Drake, Wanda <wmdrake@dekalbcountyga.gov>

Thank you so much Ms. Wanda for the speed and care with which you have handled this
situation.

| just believe it is so important to be vigilant about confirming my voter registration
especially with all of the news of voter purging and voter suppression happening in key
battleground states like Georgia.

There are important election coming up and | want to make sure | am able to participate.

Please make sure you and your family as well as your community are also eligible to
participate in their civic duties.

Thank you and God bless you!

Best,
Keme Hawkins, Ph.D.

Sent from my iPhone

> On Sep 24, 2019, at 5:28 PM, Drake, Wanda <wmdrake@dekalbcountyga.gov> wrote:
>

>

> Good afternoon, Ms. Hawkins, attach is a copy of your registration card. The record has
been updated. The original card will take 3 to 4 week for you to receive in the mail. If you
need to contact me please feel free.

>

>

> Wanda Drake

> 4380 Memorial Drive, Suite 300

> Decatur, GA 30032
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19

> 404-298-4028
> wmdrake@dekalbcountyga.gov

Page 11 of 15

> From: Keme Hawkins [mailto:hawkins.keme@qmail.com]
> Sent: Tuesday, September 24, 2019 4:40 PM

> To: Drake, Wanda

> Subject: Change of Address on Voter Registration

>

> Dear Ms. Wanda,

>

>

> My name Keme Hawkins

>

> | would like to change my address on my voter registration to:
>

> 5070 Peachtree Blvd Unit 1203

> Chamblee, Ga 30341-2881.

>

> | also filled out a change of address form online with the reference number:

> 1268568.

>

> | believe my address was fraudulently changed to an erroneous address of Peachtree

Industrial Boulevard in an attempt to suppress my vote.
>

> Please make these changes as soon as possible.

>

> Thank you,

> Keme Hawkins

>

> Sent from my iPhone
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 12 of 15

Exhibit B
Letter from DeKalb County Board of Elections
November 2019

anes ALMEVE THIS STUB REKORE RETURSING —--—

BEAR VOTER:
YOUR COUNTY BOARD OF REGISTRARS IS UPDATING ITS VOTER REGISTRATION LIST
The attached confirmation natica has been sent in response to one of the following

1) You have filed a change of address form with the U.S. Postal Service,

2) You have not vated or updated your voter ragistration in at least ¢ years: or

3) Gfficia} election mail has beer retumed when sent to the address on your voter registration record,
PLEASE NOTE: This confirmation notice was sent te the current mailing address on yout voter registration
record. The county you are currently registered in is shown in both the maller portion of this notice and
return portion of this notice.
(1) if you sift live at the same address as shown on the currant voter registration Bla, complete the atiached card
are return within 30 days.

(2) yoo have moved to an address within the caunty
the attached card and retum within 30 days. A now

os ‘ me
| in 30 days, you will be moved to an inactive status. Your
voter registration wil be canceled if you DO NOT update your voter registration or vote in an elaction up te and
including the second November General Election held after you are placed on the inactive list.
if you have questions, please contact your County Board of Registrars at the address shawn an the outside of this
maiter or the Secretary of State's office al 404-696-2871. Visit aur website at eww.sos.ga govielections for
information an stectlons and voter registration
H you have moved out of state, please visit waw.eac govivoter_resourcesfcontact _your_state aspx to find out how
to nagister to vote in your new state.
To confirm or epdate your voter registration information, please fill out the card below in Ink.

Fold and seatas . No g ¥-
RETURN WITHIN 36 DAYS!

TO RETURN: 1} REMOVE TOP 1/2" STUB, 2} FOLO TOP PANEL DOWN,
3} MOISTEN AREAS BELOW AS INSTRUCTED, 4) FOLD BOTTOM PANEL UP,
_ THEN 5) APPLY PRESSURE AT THE GLUE AREAS TO SEAL.

(BIEL IN ALL BOXES ON THIS FORM. USE INK ONLY! (DO NOT USEPENCH
it separate this card from the section above! See Instructions above, <<<
Update / confian my voter registration within current county of registration:
_ | Yai GA. Diver's Linanaa or GA. 1D No. Reggie
Pua l tt |]
Lael €2igts of Spee Secu Nomiber. Optional
3 5 F {it po GA Datwer's Livenes of 60.
Car No. the inne 4 digits of yore
‘Sactal weourty. Pepa)
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Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 13 of 15

Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 14 of 15

Exhibit C
Email from Twyla Hart
December 5, 2019

From: "Hart, Twyla |." <tihart@dekalbcountyga.gov>

Date: December 5, 2019 at 9:47:56 AM EST

To: "hawkins.keme@gmail.com" <hawkins.keme@gmail.com>
Cc: "Drake, Wanda" <wmdrake@dekalbcountyga.gov>
Subject: FW: Voter Registration Confirmation Mailer

Good Morning Ms. Hawkins,

The following is the recap per our conversation yesterday morning.

1. Your Department of Driver Services’ voter registration application dated 6/11/2018 was
process with error, the street name. The application was processed with the address 5070
Peachtree Industrial Blvd. which should have been Peachtree Blvd.

2. The error was discovered and corrected on 9/24/2019, however the mailing address was
not changed. Resulting in a precinct card being mailed to the incorrect address.

3. On 9/25/2019 your Online application dated 9/24/2019, was processed updating the
mailing address as well.

4. On or before 10/30/2019 the precinct card that was generated on 9/24/2019 was
returned to our office and a returned mail confirmation notice was sent to you, which you
received. It may take months before returned mail is received in our office, which is why
you received the confirmation notice two months later.

5. Your status did not change you remained an active voter in DeKalb County and your
registration status was not jeopardy of being cancelled.

6. | have attached a copy of the No Contact in Two General Elections Confirmation Notice
to confirm your Confirmation Notice is different.

7. Your current registration is active; however, you will complete and return Confirmation
Notice.

Again, | apologize for any inconvenience this may have caused you. Thank you for giving us
the opportunity to explain what happened. If you have any additional questions or if we can
be of further assistance feel free to contact our office.

Best Regards,

Twyla Inez Hart | Registration Supervisor
Dekalb County Registration and Elections
Office: 404/298-4024 | Fax: 404/298-4038
tihart@dekalbcountyga.gov
www.dekalbvotes.com
Case 1:18-cv-05391-SCJ Document 159-12 Filed 12/16/19 Page 15 of 15
